' - `| d 07/07/05 Pa e 1 of 2 Page|D 16
Case 2'05'€r'2023f1\‘][i§1s[)191§§'i]§15“HALEE'§ DIsTRicT cgURT

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION FH£G F.FHQS jj@

 

UNITED STATES oF AMERICA 95 JUL ”7 Pl""i =3!
05»20236

v. No.

 

BILLY GENE WILLIAMS

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

Defendant's counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy' Trial Act, as set in, 18 U.S.C. §3161(h)(8)(A), a
defendant may be granted a period of excludable delay if the ends
of justice are served.

The Arraignment is therefore continued and reset to Wednesday,

JulV 13, 2005, at 9:30 a.m. in Courtroom §5¢ 3rd Floor, Federal

 

Building, 167 N. Main Street, Memphis, Tennessee.
lt is therefore ORDERED that the time period of Julz 7, 2005

through, Julz 12l 2005 he excluded from the time its imposed by the

Speedy Trial Act for trial of this case, due to the interests of

justice.

This 572;- day of July, 2005. 1
357/zwij

S. Thomas Anderson
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20236 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

